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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.   07-10221-06-MLB
                                             )
RICKY HENRY,                                 )
                                             )
                         Defendant.          )
                                             )

                              MEMORANDUM AND ORDER
        This case comes before the court on defendant’s motion to
suppress items seized pursuant to a search warrant.                  (Doc. 114).   The
motion has been fully briefed and is ripe for decision.                    (Docs. 115,
121).     Defendant’s motion to suppress is granted for the reasons
herein.
I.      Facts
        The parties agree that most of the facts submitted in the
affidavit attached to the application for the search warrant concern
the activities of Tyrone Andrews, a co-defendant. Wichita police were
conducting surveillance on Andrews’ activities and they also had
received     authorization     for   a   wiretap.          Facts     surrounding   the
investigation of Andrews and other co-defendants can be found in this
court’s prior orders.         (Docs. 117 and 122).
        The excerpt from the affidavit pertaining to the search in
question states:
            On September 12, 2007 at approximately 7:25PM Andrews
        received a phone call from phone number 316-390-6452 on
        target telephone 2 from an unknown male. The male asked
        Andrews what the weather was looking like.        Andrews
        stated that it’s still good. The male talks the “one”
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      Andrews brought for another person and that he was almost
      ready. The male talks about coming and getting something
      and the male could get another one and he would have
      everything on both the next day. At approximately 9:34PM
      Andrews is overheard on another call talking to an
      unknown male when he tell [sic] the male that he has to
      make two runs and then plans on going home.            At
      approximately 9:45PM surveillance units watch as Andrews
      exits the residence and leaves in his car. Andrews is
      followed to 1111 N. Pershing where he meets with an
      unknown black male.
          On September 17, 2007 at approximately 5:38PM Andrews
      received a phone call from phone number 316-201-5321 on
      target telephone 2 from an unknown male. The male asked
      him if he wanted his change and Andrews told the male
      that he never called and told him to come get it. The
      male then talks about a person who is coming up again and
      ought to be there by 8:30PM or 9:00PM. Andrews asked
      what he was going to do and the male replied just the
      nine. Andrews states that he will bring it over early
      and his people will be there tomorrow and that he needs
      to go through what he has anyway. At 7:31PM the male
      calls Andrews and is told that Andrews is about to make
      all his “runs” at once. At 9:18PM surveillance units at
      1821 S Ridgewood see Andrews leave in his car and he is
      followed to 1111 Pershing. Once at 1111 Pershing a male
      exits the house and meets with Andrews inside of Andrews’
      car. The male then exits the car and goes back inside
      the residence and Andrews leaves.
(Doc. 115, exh. 1 at 8-9).
      On   September    23,   2007,   Magistrate      Judge    Donald      Bostwick
authorized officers to conduct a search at 1111 N. Pershing.                    The
search was executed at 10:32 p.m. on that same day.                 Although not
specifically stated in the parties’ submissions, the court assumes
that defendant Henry has standing to challenge the search.
II.   Analysis
      Defendant argues that probable cause did not exist for the
search warrant because there was no evidence to link the phone calls
made to the residence and no evidence that a drug transaction occurred
during the two visits by Andrews.           Defendant also alleges that the


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challenged evidence is not admissible under the “good faith” exception
to the exclusionary rule.
        1.   Probable Cause
        The Fourth Amendment to the United States Constitution provides
that:
             [t]he right of the people to be secure in their
             persons, houses, papers, and effects, against
             unreasonable searches and seizures, shall not be
             violated, and no Warrants shall issue, but upon
             probable cause, supported by Oath or affirmation,
             and particularly describing the place to be
             searched, and the persons or things to be seized.
U.S. Const. amend. IV.        The validity of a warrant is not determined
by “nit-picking” discreet portions of the application.              Rather, the
test is whether, under the totality of the circumstances presented in
the affidavit, the issuing judge had a “substantial basis” for
determining that probable cause existed.        Illinois v. Gates, 462 U.S.
213, 238-39 (1983); United States v. Harris, 369 F.3d 1157, 1165 (10th
Cir. 2004) (“In determining whether a search warrant was supported by
probable cause, we review "the sufficiency of the affidavit upon which
a warrant [wa]s issued by looking at the totality of the circumstances
and simply ensuring 'that the [issuing] magistrate had a substantial
basis for concluding that probable cause existed.'" (internal citation
omitted)).
        Probable cause exists when “the facts presented in the affidavit
would warrant a man of reasonable caution to believe that evidence of
a crime will be found at the place to be searched.”           Harris, 369 F.3d
at 1165 (quoting United States v. Hernandez-Rodriguez, 352 F.3d 1325,
1330 (10th Cir. 2003)).        The Tenth Circuit has adopted the general
rule that probable cause requires a “nexus between [the contraband to

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be seized] or suspected criminal activity and the place to be
searched.”     United States v. Rowland, 145 F.3d 1194, 1203-04 (10th
Cir. 1998)(quoting United States v. Corral-Corral, 899 F.2d 927, 937
(10th Cir. 1990)).
      The     Supreme   Court    has    observed       that    “a    magistrate’s
‘determination of probable cause should be paid great deference by
reviewing courts.’” Gates, 462 U.S. at 236 (quoting Spinelli v. United
States, 393 U.S. 410, 419 (1969)). In doing so, reviewing courts must
apply the totality of the circumstances test:
             The task of the issuing magistrate judge is simply to
             make a practical, common-sense decision whether,
             given all the circumstances set forth in the
             affidavit before him, including the veracity and
             basis of knowledge of persons supplying hearsay
             information, there is a fair probability that
             contraband or evidence of a crime will be found in a
             particular place. And the duty of a reviewing court
             is simply to ensure that the magistrate had a
             substantial basis for. . . conclud[ing] that probable
             cause existed.
Gates, 462 U.S. at 238-39 (internal citation omitted).
      Defendant argues that probable cause was lacking to support the
search warrant because: 1) there is no indication that the phone calls
were linked to the residence; 2) there is no informant indicating who
resides at the residence; and 3) there is no evidence that any items
were exchanged during the two encounters between the male at the
residence and Andrews.
      The affidavit does an excellent job of providing a detailed
description of the investigation surrounding Andrews.                The problem,
however, is that the affidavit does not link the N. Pershing residence
to any drug activity.       According to the affidavit, Andrews received
calls from unknown males discussing runs that Andrews was making but

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the calls received on those two separate dates came from two different
phone numbers, neither of which are in anyway connected to the
residence.    Moreover, the affidavit does not establish that Andrews
completed any drug transaction during the two times that he visited
the residence.
      The court finds that the facts set forth in the affidavit do not
establish probable cause to search the N. Pershing residence.                  United
States v. Anderson, 981 F.2d 1560, 1569 (10th Cir. 1992)(suppressing
the search warrant when no statements linked the presence of drugs to
the residence).       The affidavit merely establishes that a known
narcotics dealer stopped at the residence on two occasions.                   That, by
itself, does not establish probable cause to search the residence.
      2.     Good Faith Exception
      The government asserts that even if the affidavit does not
establish probable cause, the evidence seized should not be suppressed
because the officers acted in good faith. See United States v. Leon,
468 U.S. 897 (1984).      Defendant argues that reliance on the affidavit
by officers in executing the search warrant was unreasonable and not
subject to the Leon exception.
      The Supreme Court recognizes four situations in which an officer
would not have reasonable grounds for believing a warrant was properly
issued.      In   these   situations,    the    good-faith      exception      to   the
exclusionary rule would not apply.
           First, evidence should be suppressed if the
           issuing magistrate was misled by an affidavit
           containing false information or information that
           the affiant would have known was false if not for
           his “reckless disregard of the truth.” Second,
           the exception does not apply when the “issuing
           magistrate wholly abandon[s her] judicial role.”

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            Third, the good-faith exception does not apply
            when the affidavit in support of the warrant is
            “so lacking in indicia of probable cause as to
            render official belief in its existence entirely
            unreasonable.”   Fourth, the exception does not
            apply when a warrant is so facially deficient
            that the executing officer could not reasonably
            believe it was valid.
United States v. Danhauer, 229 F.3d 1002, 1007 (10th Cir. 2000)
(citing throughout United States v. Leon, 468 U.S. 897 (1984)).
Defendant relies on the third and fourth factors.
        This court has had little or no occasion to apply Leon to
searches because the warrants issued by its magistrate judges are
rarely, if ever, deficient.        In this isolated case, however, the
warrant is deficient and there is no evidence from the executing
officer(s) regarding whether he reviewed the application and the
warrant, thereby forcing the court to assume facts not in evidence,
i.e. that the officer reasonably believed the warrant to be valid and
why.    This is an assumption the court is not prepared to make.
Moreover, when the government relies on Leon, it should present
evidence to support its application.
III.    Conclusion
        Defendant’s motion to suppress is granted.            (Doc. 114).   The
evidence seized from defendant’s residence at 1111 N. Pershing is
suppressed.
       IT IS SO ORDERED.
       Dated this       day of May 2008, at Wichita, Kansas.


                                           s/ Monti Belot
                                           Monti L. Belot
                                           UNITED STATES DISTRICT JUDGE


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